Case 3:19-bk-30822          Doc 192      Filed 06/12/20 Entered 06/12/20 16:22:54                  Desc Main
                                        Document      Page 1 of 3



                            UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION AT DAYTON

 In re: Tagnetics, Inc.                            *        Case No. 19-30822
                                                   *
                                                   *        Judge Humphrey
                                                   *        Chapter 7


              TAGNETICS, INC.’S MOTION FOR EXPEDITED DISPOSITION


         Tagnetics, Inc. (“Tagnetics”), by and through its undersigned counsel and pursuant to Local

 Bankruptcy Rule 9073-1, hereby files this Motion for Expedited Disposition regarding Tagnetics’

 Motion to Reschedule Evidentiary Hearing and Motion to Conduct Discovery Related to Tortious

 Conduct Directed at Tagnetics. In support of this Motion, Tagnetics states as follows:

         1.      Kenneth Kayser, Ronald Earley, and Jonathan Hager (the “Remaining Petitioning

 Creditors”) filed a motion seeking to hold Tagnetics in criminal contempt [Doc. #181].

         2.      Before the deadline for Tagnetics to file an opposition to the criminal contempt

 motion, the Court ordered an evidentiary hearing on June 25, 2020 to address the Remaining

 Petitioning Creditors’ contempt motion. See Doc. #182.

         3.      Tagnetics has filed an Opposition to the Motion to Hold Tagnetics in Criminal

 Contempt and one of the arguments in that Opposition contends that this Court does not have

 authority to conduct a criminal proceeding or issue criminal sanctions.

         4.      A determination on whether this Court will conduct a criminal contempt proceeding

 should be made prior to the evidentiary hearing to give Tagnetics sufficient time to retain criminal

 defense counsel. 1



 1
   As noted in Tagnetics’ Opposition, undersigned counsel is not a criminal defense lawyer and does not plan to
 represent Tagnetics in any criminal proceeding.
Case 3:19-bk-30822       Doc 192     Filed 06/12/20 Entered 06/12/20 16:22:54            Desc Main
                                    Document      Page 2 of 3



        5.      Additionally, Tagnetics filed a Motion to Conduct Discovery Related to Tortious

 Conduct Directed at Tagnetics and, if such discovery is permitted, it should be conducted prior to

 the evidentiary hearing because such factual discovery would be relevant to matters to be addressed

 in the evidentiary hearing.

        6.      The parties that will be affected by the relief requested in this Motion and the

 Motion to Reschedule Evidentiary Hearing are the parties to this proceeding: Tagnetics and the

 Remaining Petitioning Creditors.

        7.      Tagnetics requests that any opposition be filed by June 19, 2020 and any hearing to

 address this Motion be heard on June 22, 2020.

        8.      This Motion and each of the related filings made on the same date will be sent to

 the Remaining Petitioning Creditors via email on June 12, 2020 as well as FedEx (to two of the

 Remaining Petitioning Creditors) and United States Mail the Remaining Petitioning Creditor who

 has disclosed only a P.O. Box for delivery of paper service.

        9.      Tagnetics proposes a resolution of this Motion and whether the evidentiary hearing

 will proceed as currently scheduled by June 25, 2020.

        10.     Included with this Motion is a proposed form of notice and proposed order.



 Dated: June 12, 2020                         Respectfully submitted,

                                                     /s/ Stephen B. Stern
                                              Stephen B. Stern, Admitted Pro Hac Vice
                                              KAGAN STERN MARINELLO & BEARD, LLC
                                              238 West Street
                                              Annapolis, MD 21401
                                              (410) 216-7900 – Telephone
                                              (410) 705-0836 - Facsimile
                                              stern@kaganstern.com (email)

                                              Counsel for Alleged Debtor
                                              Tagnetics, Inc.

                                                  2
Case 3:19-bk-30822        Doc 192     Filed 06/12/20 Entered 06/12/20 16:22:54              Desc Main
                                     Document      Page 3 of 3



                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 12, 2020, a copy of the foregoing Motion for Expedited
 Disposition was served (i) electronically on the date of filing through the Court’ s ECF System
 on all ECF participants registered in this case at the email address registered with the court and (ii)
 electronically by email to Kenneth W. Kayser. (drkwkayser@gmail.com), Ronald E. Early
 (ronald.earley1@gmail.com) and Jonathan Hager (pufferboater@gmail.com), and (iii) by First
 Class U.S. Mail on June 12, 2020 to Kenneth Kayser and MaryAnne Wilsbacher at the addresses
 below, and (iv) FedEx to Ronald Earley and Jonathan Hager at the addresses below:

 Kenneth W. Kayser
 PO Box 115
 Catawba, VA 24070

 Ronald E. Early
 6429 Winding Tree Drive
 New Carlisle, OH 45344

 Jonathan Hager
 842 Paint Bank Road
 Salem, VA 24153

 MaryAnne Wilsbacher
 Office of the United States Trustee
 170 North High Street
 Suite 200
 Columbus, Ohio 43215


                                                                /s/ Stephen B. Stern
                                                                Stephen B. Stern




                                                   3
